
In re Cage, Tommy; — Plaintiff(s); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “J”, No. 313-962.
Granted in part. Warrant of execution is vacated and set aside. Trial judge is ordered to conduct a hearing on the issue of expert witness funds. At such hearing, relator is entitled to present his claim for necessary funds. The matter is remanded to the trial court for further hearing and for an order for payment of the amount of *376funds, if any, to which relator is entitled. Relator’s request for an ex parte hearing is denied. Relator is ordered to file his application for post-conviction relief within 90 days of a final judgment on his motion for funds.
